18-13968-smb      Doc 130      Filed 02/04/19 Entered 02/04/19 11:43:40 Main Document
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                                                     1 Department of Justice
 [Type text]
                                                       United States Attorney
                                                       Southern District of New York

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                                                       February 4, 2019

 VIA ECF
 The Honorable Stuart M. Bernstein
 United States Bankruptcy Judge
 United States Bankruptcy Court
 One Bowling Green
 New York, New York 10004

                In re: Durr Mechanical Construction, Inc., No. 18-13968 (SMB)

 Dear Judge Bernstein:

          This Office represents the United States of America, on behalf of the Internal Revenue
 Service (“IRS”), in the above-referenced Chapter 11 case. In accordance with Your Honor’s rules,
 I write to request an extension of the IRS’s deadline to file an objection to Debtor’s motion seeking
 entry of a final order authorizing Debtor’s use of cash collateral and adequate protection to secured
 creditors (Dkt. No. 115), which is scheduled for a hearing on February 12, 2019 at 10:00 a.m.
 Debtor and the IRS are in the process of negotiating a stipulation and proposed order, which may
 obviate the need for the IRS to file an objection to Debtor’s motion. Accordingly, in the interest
 of avoiding unnecessary briefing and in an effort to reach an amicable resolution, the Government
 respectfully requests an extension of three days, to February 8, 2019, to file any objection to
 Debtor’s motion. Debtor consents to this request.

        We thank the Court for its attention to this matter.

                                                 Respectfully submitted,

                                                 GEOFFREY S. BERMAN
                                                 United States Attorney for the
                                                 Southern District of New York

                                            By: /s/ Rachael L. Doud
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